Case 1:10-cr-00148-RJJ         ECF No. 108, PageID.310          Filed 05/11/15       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 1:10-CR-148

v.                                                          HON. ROBERT HOLMES BELL

REBECCA CECILIA MORA,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Rebecca Cecilia Mora has filed a motion for modification or reduction of sentence

(ECF No. 87) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because the mandatory minimum sentence of imprisonment was imposed at

sentencing, the Probation Office has now found Defendant ineligible for a reduction in sentence

under Guideline Amendment 782. Defense counsel has filed a response to the report of eligibility,

(ECF No. 106) and concurs that Defendant is not eligible for a sentence reduction.
Case 1:10-cr-00148-RJJ       ECF No. 108, PageID.311         Filed 05/11/15   Page 2 of 2




      Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(ECF No. 87) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: May 8, 2015                          /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            UNITED STATES DISTRICT JUDGE
